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                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF KENTUCKY
                                     AT LOUISVILLE


UNITED STATES OF AMERICA                                                                 PLAINTIFF


v.                                                         CRIMINAL ACTION NO. 3:06CR-89-S


CHRISHAUNDA MURRAY                                                                     DEFENDANT


                         COURT’S INSTRUCTIONS TO THE JURY


Members of the Jury:

       It is now my duty to instruct you on the rules of law that you must follow and apply in

deciding this case. When I have finished you will go to the jury room and begin your deliberations.

       It will be your duty to decide whether the United States has proved beyond a reasonable

doubt the specific facts necessary to find the defendant guilty of the crime charged in the indictment.
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You must make your decision only on the basis of the testimony and other evidence

presented here during the trial; and you must not be influenced in any way by either sympathy or

prejudice for or against the defendant or the United States.

       You must also follow the law as I explain it to you whether you agree with that law or not.

You must follow all of the instructions as a whole; you may not single out, or disregard, any of the

court's instructions on the law.

       The indictment or formal charge against any defendant is not evidence of guilt. The

defendant is presumed by the law to be innocent. The law does not require a defendant to prove

innocence or produce any evidence at all. This means that a defendant has no obligation to testify.

Therefore, if a defendant does not testify during a trial, you may not draw any inference or

suggestion of guilt from that fact, nor may you consider this in any way in reaching your verdict.

The United States has the burden of proving a defendant guilty beyond a reasonable doubt, and if

it fails to do so you must find the defendant not guilty.




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While the United States' burden of proof is a strict or heavy burden, it is not necessary that

a defendant's guilt be proved beyond all possible doubt. It is only required that the United States'

proof exclude any "reasonable doubt" concerning a defendant's guilt.

       A "reasonable doubt" is a doubt based upon reason and common sense after careful and

impartial consideration of all the evidence in the case.

       Proof beyond a reasonable doubt, therefore, is proof of such a convincing character that you

would be willing to rely and act upon it without hesitation in the most important of your own affairs.




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You must consider only the evidence that I have admitted in the case. The term "evidence"

includes the testimony of the witnesses and the exhibits admitted in the record. Remember that

anything the lawyers say is not evidence in the case. It is your own recollection and interpretation

of the evidence that controls. What the lawyers say is not binding upon you.

       In considering the evidence you may make deductions and reach conclusions which reason

and common sense lead you to make. You need not be concerned about whether the evidence is

direct or circumstantial. "Direct evidence" is the testimony of one who asserts actual knowledge of

a fact, such as an eye witness. "Circumstantial evidence" is proof of a chain of facts and

circumstances indicating that the defendant is either guilty or not guilty. The law makes no

distinction between the weight you may give to either direct or circumstantial evidence.




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Now, in saying that you must consider the evidence, I do not mean that you must accept all

of the evidence as true or accurate. You should decide whether you believe what each witness had

to say, and how important that testimony was. In making that decision you may believe or

disbelieve any witness, in whole or in part. Also, the number of witnesses testifying concerning any

particular dispute is not controlling.

       In deciding how much of a witness' testimony to believe, I suggest that you ask yourself a

few questions: Did the witness impress you as one who was telling the truth? Did the witness have

any particular reason not to tell the truth or a personal interest in the outcome of the case? Did the

witness have a good memory? Did the witness have the opportunity and ability to observe

accurately the things he or she testified about? Did the witness appear to understand the questions

clearly and answer them directly?




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You should also ask yourself whether there was evidence tending to prove that the witness

testified falsely concerning some important fact; or, whether there was evidence that at some other

time the witness said or did something, or failed to say or do something, which was different from

the testimony given before you during the trial.

       The fact that a witness has been convicted of a felony offense is another factor you may

consider in deciding whether you believe the testimony of that witness.

       However, a simple mistake by a witness does not necessarily mean that the witness was not

telling the truth as he or she remembers it, because people naturally tend to forget some things or

remember other things inaccurately. So, if a witness has made a misstatement, you need to consider

whether that was simply an innocent lapse of memory or an intentional falsehood.




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The testimony of some witnesses must be considered with more caution than the testimony

of other witnesses.

        In this case the United States called as one of its witnesses a person named as a co-defendant

in the indictment, with whom the United States has entered into a plea agreement providing for a

lesser sentence than the witness would otherwise be exposed to for the offense to which he pled

guilty. Such plea bargaining, as it's called, has been approved as lawful and proper, and is expressly

provided for in the rules of this court. However, a witness who hopes to gain more favorable

treatment in his or her own case may have a reason to make a false statement because he wants to

strike a good bargain with the United States. So, while a witness of that kind may be entirely

truthful when testifying, you should consider his testimony with more caution than the testimony

of other witnesses.

        And, of course, the fact that a witness has pled guilty to the crime charged in the indictment

is not evidence, in and of itself, of the guilt of any other person.




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       Title 21, United States Code, Section 841(a)(1), makes it a federal crime for anyone to

possess a "controlled substance" with intent to distribute it.

       Cocaine base, or “crack” cocaine, is a "controlled substance" within the meaning of the law.

       A defendant can be found guilty of that crime only if all of the following facts are proved

beyond a reasonable doubt as to that defendant:

       First:    That the defendant knowingly and intentionally possessed a mixture or
                 substance containing a detectable amount of cocaine base as charged; and

       Second: That she possessed the substance with the intent to distribute it.


       To "possess with intent to distribute" simply means to possess with intent to deliver or

transfer possession of a controlled substance to another person, with or without any financial interest

in the transaction.

The law recognizes several kinds of possession. A person may have actual possession or

constructive possession. A person may also have sole possession or joint possession.

       A person who has direct physical control of something on or around his person is then in

actual possession of it.

       A person who is not in actual possession, but who knowingly has both the power and the

intention at a given time to exercise dominion and control over something, either alone or together

with someone else, is in constructive possession of it.

       If one person alone has possession of something, possession is sole. If two or more persons

share possession, possession is joint.

       Whenever the word "possession" is used in these instructions, it includes actual and

constructive possession, and also sole and joint possession.



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The guilt of a defendant in a criminal case may be proved without evidence that she

personally did every act involved in the commission of the crime charged. The law recognizes that,

ordinarily, anything a person can do for herself may also be accomplished through direction of

another person as an agent, or by acting together with, or under the direction of, another person or

persons in a joint effort.

        So, if a defendant aids and abets another person by intentionally joining together with that

person in the commission of a crime, then the law holds the defendant responsible for the conduct

of that other person just as though the defendant had engaged in such conduct herself.

        Notice, however, that before any defendant can be held criminally responsible for the

conduct of others it is necessary that the defendant associate herself in some way with the crime, and

intentionally participate in it. Mere presence at the scene of a crime and even knowledge that a

crime is being committed are not sufficient to establish that a defendant either directed or aided and

abetted the crime. You must find beyond a reasonable doubt that the defendant was a participant

and not merely a knowing spectator.




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You will note that the indictment charges that the offense was committed "on or about" a

certain date. The United States does not have to prove with certainty the exact date of the alleged

offense. It is sufficient if the United States proves beyond a reasonable doubt that the offense was

committed on a date reasonably near the date alleged.

       The word "knowingly," as that term has been used in these instructions, means that the act

was done voluntarily and intentionally and not because of mistake or accident.




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SPECIAL INTERROGATORY AS TO QUANTITY OF A CONTROLLED SUBSTANCE

       If you have found the defendant guilty as to Count 2, you must also decide beyond a

reasonable doubt what quantity of the mixture or substance containing a detectable amount of

cocaine base she knowingly and intentionally possessed on or about the date set forth in the

indictment. If you have found the defendant guilty as to Count 2, you will complete the verdict form

asking you to answer this question.




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       The defendant is on trial only for the specific offense alleged in the indictment. The question

of punishment should never be considered by the jury in any way in deciding the case. If the

defendant is convicted the matter of punishment is for the judge to determine.




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Any verdict you reach in the jury room, whether guilty or not guilty, must be unanimous.

In other words, to return a verdict you must all agree. Your deliberations will be secret; you will

not have to explain your verdict to anyone.

       It is your duty as jurors to discuss the case with one another in an effort to reach agreement

if you can do so. Each of you must decide the case for yourself, but only after full consideration of

the evidence with the other members of the jury. While you are discussing the case do not hesitate

to re-examine your own opinion and change your mind if you become convinced that you were

wrong. But do not give up your honest beliefs solely because the others think differently or merely

to get the case over with.




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When you go to the jury room you should first select one of your members to act as your

foreperson. The foreperson will preside over your deliberations and will speak for you here in court.

       A form of verdict has been prepared for your convenience.

       You will take the verdict form to the jury room and when you have reached unanimous

agreement you will have your foreperson fill in the verdict form, date and sign it, and then return

to the courtroom.




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